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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,

                                 Plaintiff,

                v.                                               Case No. 02-20104-002-KHV

DAVID T. LOPEZ
XXX-XX-5456,

                                 Defendant.

                v.

FIDELITY INVESTMENTS
P.O. Box 770002
Cincinnati, OH 45277-0090,

                                 Garnishee-defendant.


                            ORDER RELEASING GARNISHMENT
                          AND FINAL ACCOUNTING OF PAYMENTS

        Comes on for decision the motion of plaintiff, United States of America, (Doc. #339), for an

order releasing the garnishment and discharging the garnishee-defendant from the Writ of Continuing

Garnishment, Doc. 325, filed February 9, 2005, and final accounting of garnishment payments. The

plaintiff, United States, appears by and through Eric F. Melgren, United States Attorney for the District

of Kansas, and Tanya Sue Wilson, Assistant United States Attorney for the District.

        The Court, upon review of the file and pleadings herein finds that the allegations of the motion

are true and the relief requested in appropriate.

        Therefore, based on the above findings the Court orders that the garnishment is released and
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the garnishee-defendant is hereby released and discharged as garnishee in the above entitled action.

The United States advises the Court that no payments were collected by way of this garnishment.

        Dated this 5th day of May, 2005.




                                                        s/ Kathryn H. Vratil
                                                        KATHRYN H. VRATIL
                                                        United States District Judge

Submitted by:

ERIC F. MELGREN
United States Attorney


s/ Tanya Sue Wilson
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